Case 2:20-cv-13134-LVP-RSW ECF No. 13, PageID.1876 Filed 11/30/20 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN

TIMOTHY KING, MARIAN ELLEN
SHERIDAN, JOHN EARL HAGGARD,
CHARLES JAMES RITCHARD, JAMES                  CIVIL ACTION
DAVID HOOPER, and DAREN WADE
RUBINGH,                                       No. 2:20-cv-13134-LVP-RSW

                          Plaintiffs,
                                               Hon. Linda V. Parker
         v.

GRETCHEN WHITMER, in her official
capacity as Governor of the State of
Michigan, JOCELYN BENSON, in her
official capacity as Michigan Secretary of
State, and the Michigan BOARD OF
STATE CANVASSERS,

                          Defendants.



                                 NOTICE OF APPEARANCE

         NOW COMES Scott R. Eldridge of the law firm MILLER, CANFIELD,

PADDOCK AND STONE, P.L.C., and hereby enters his appearance, in the above-

captioned matter, as attorney for Proposed Intervenor-Defendants DNC Services

Corporation/Democratic National Committee and Michigan Democratic Party.




36910705.1/159808.00001
Case 2:20-cv-13134-LVP-RSW ECF No. 13, PageID.1877 Filed 11/30/20 Page 2 of 2




                          MILLER, CANFIELD, PADDOCK AND STONE,
                          P.L.C.

                          /s/ Scott R. Eldridge
                          Scott R. Eldridge (P66452)
                          Attorney for Intervenor-Defendants DNC and MDP
                          One Michigan Avenue, Suite 900
                          Lansing, MI 48933
                          (517) 483-4918
                          eldridge@millercanfield.com

Dated: November 30, 2020




                                       2
36910705.1/159808.00001
